           Case 1:17-cr-00232-ELH Document 469 Filed 05/14/20 Page 1 of 2
                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                     OFFICE OF THE CLERK



Felicia C. Cannon, Clerk                                      Reply to Northern Division Address
Catherine M. Stavlas, Chief Deputy
Elizabeth B. Snowden, Chief Deputy
                                        May 14, 2020


Claudis Lassiter 42543−037
FCI Allenwood
P.O. Box 1000
White Deer, PA 17887

Re: USA v. Claudis Lassiter
    1:17−cr−00232−ELH

Dear Claudis Lassiter:
We have received and docketed your Motion for Compassionate Release seeking a
sentence reduction pursuant to 18 U.S.C. Â§ 3582(c)(1)(A), as modified by the First Step
Act of 2018. Please be advised that the Office of the Federal Public Defender for the
District of Maryland has been appointed to represent any defendant who qualifies for
consideration under 18 U.S.C. Â§ 3582(c)(1)(A). This means that if the Federal Public
Defender for this District determines that you are eligible for compassionate release, they
will secure any supporting documentation, including any necessary transcripts, needed to
supplement the motion you have filed with the Court, and you will not have to pay the
costs associated with any court documents or filings.
To assist the Office of the Federal Public Defender and the Court in evaluating your
Motion for Compassionate Release, please file a request for compassionate release with the
warden of your institution as contemplated by 18 U.S.C. Â§ 3582(c)(1)(A) and then file an
administrative appeal if the warden denies your request. Please send to the Office of the
Federal Public Defender a copy of your request to the warden and any administrative
appeal you file. If you are pursuing compassionate release based on a health condition,
please mail copies of relevant medical records to the Office of the Federal Public Defender
as well. Please address your envelope:
   Office of the Federal Public Defender
   6411 Ivy Lane, Suite 710
   Greenbelt, MD 20770
   ATTN: Compassionate Release Attorneys
In addition to contacting the Office of the Federal Defender at the address above, you can
email the attorneys handling compassionate release cases at MD_FPD_CR@fd.org.
Accompanying this letter are two standard release forms used by the Bureau of Prisons. If
you want the Office of the Federal Public Defender to be able to obtain your records from
the Bureau of Prisons, please fill out the attached release forms and mail them to the Office
of the Federal Public Defender as well.
         Case 1:17-cr-00232-ELH Document 469 Filed 05/14/20 Page 2 of 2
                                                                            Sincerely,
                                                                                        /s/
                                                                            Felicia C. Cannon, Clerk


                                                                            By: O. Lewis, Deputy Clerk


enclosures

        Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
        Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                      Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
